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                                                                     UNITED STATES DISTRICT COURT
                                      9
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                     10
                                        CASA NIDO PARTNERSHIP, a California         CASE NO. 3:20-CV-07923-EMC-TSH
                                     11 Partnership,
                                                                                    SENTRY INSURANCE COMPANY’S
    LLP




                                     12               Plaintiff,                    OPPOSITION TO PLAINTIFF’S MOTION FOR
                                                                                    LEAVE TO FILE THIRD AMENDED AND
                                               v.                                   SUPPLEMENTAL COMPLAINT
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                                     14 CATHERINE O’HANKS, JAE KWON aka             Date:         September 15, 2022
                                        JAY KWON aka JAY KWON SHIK aka JAY          Time:         1:30 p.m.
                                     15 SHIK KWON; LYNNE MARIE GARIBOTTI            Judge:        Edward M. Chen
                                        aka LYNNE GARIBOTTI BLOWER aka              Courtroom.:   5 – 17th Floor
                                     16 LYNNE G. BLOWER as trustee the Claudio
                                        Garibotti Trust dated May 1, 1952; and      Complaint Filed:    November 10, 2020
                                     17 SENTRY INSURANCE COMPANY,

                                     18               Defendants.

                                     19 CATHERINE O'HANKS

                                     20               Counter-Claimant,

                                     21        v.

                                     22 JAE KWON aka JAY KWON aka JAY
                                        KWON SHIK aka JAY SHIK KWON;
                                     23 LYNNE MARIE GARIBOTTI aka LYNNE
                                        GARIBOTTI BLOWER aka LYNNE G.
                                     24 BLOWER as trustee the Claudio Garibotti
                                        Trust dated May 1, 1952; and SENTRY
                                     25 INSURANCE COMPANY

                                     26               Counter-Defendants.

                                     27

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                                      1 I.        INTRODUCTION

                                      2           Plaintiff’s motion for leave to file an amended and supplemental complaint should be

                                      3 denied. The amended allegations against Sentry are legally and factually incorrect on their face,

                                      4 and it would therefore be futile to assert these new claims. The supplemental allegations involve

                                      5 protected activity under the litigation privilege and California’s anti-SLAPP statute, such that it

                                      6 would be unduly prejudicial to require Sentry to defend against such allegations. If an amended

                                      7 complaint is allowed to be filed with those allegations, Sentry reserves the right to bring a special

                                      8 motion to strike under the anti-SLAPP statute and seek the attorney’s fees and costs necessary to

                                      9 do so.

                                     10 II.       FACTUAL / PROCEDURAL BACKGROUND

                                     11           With respect to the motion to amend its complaint, plaintiff requests leave to make the
    LLP




                                     12 following new allegations:
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                                     13                  Paragraph 112: Sentry allegedly “misrepresented” to its insured that the decision
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                                     14                   in Montrose Chem. Corp. v. Admiral Ins. Co. (1995) 10 Cal.4th 6451 applied to

                                     15                   third party claims, “even though Montrose specifically held that it only applied to

                                     16                   first party claims.”

                                     17                  Paragraph 113: Sentry allegedly “misrepresented” to its insured that coverage

                                     18                   under the Policy was determined by the “extent of subsurface contamination”

                                     19                   rather than the manifestation of property damage during the policy periods.”

                                     20                  Paragraph 114: Sentry allegedly “misrepresented” to its insured that the term

                                     21                   “expenses” in the Policy meant that there was no duty to defend, when “this exact

                                     22                   argument” was rejected in Okada v MGIG Indem. Corp., 823 F.2d 276 (9th Cir.

                                     23                   1986).

                                     24           However, none of these allegations are legally or factually accurate as shown by a

                                     25 cursory reading of the above case law and the Court record in this case. As discussed below,

                                     26

                                     27 1
                                          In paragraph 111 of its proposed TAC, plaintiff incorrectly states that the Montrose decision can be
                                     28 found at page 545.
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                                      1 Montrose was a third-party case, not a first party case; Sentry’s initial denial of coverage was

                                      2 based on when the pollution allegedly manifested, not on the extent of the pollution; and the

                                      3 Sentry policy has completely different language than the policy language analyzed in the Okada

                                      4 decision. As such, allowing these allegations would be futile, such that plaintiff’s motion for

                                      5 leave to assert these new allegations should be denied.

                                      6           With respect to the motion to supplement its complaint, plaintiff seeks leave to make the

                                      7 following new allegations, all of which involve Sentry’s written statements or writings made

                                      8 before this Court or in connection with the issues under consideration by the Court in this case:

                                      9                  Paragraph 117: Sentry filed a Motion to Dismiss plaintiff’s First Amended

                                     10                   Complaint (“FAC”):

                                     11                  Paragraph 118: plaintiff opposed that motion;
    LLP




                                     12                  Paragraph 119: the Court denied Sentry’s motion;
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                                     13                  Paragraph 120: after the Court’s Order, Sentry allegedly “refused to provide a
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                                     14                   legal defense without monetary limitation”,

                                     15                  Paragraph 121: these actions occurred “subsequent to the filing of the FAC,”

                                     16                   including a letter Sentry’s counsel allegedly sent to plaintiff’s counsel stating its

                                     17                   current legal position in this case.

                                     18           As discussed below, these allegations are improper because they violate California’s anti-

                                     19 SLAPP statute found in CCP section 425.16 and the litigation privilege codified in CCP section

                                     20 47. As such, the proposed amendments would result in undue prejudice to Sentry2.

                                     21           For these reasons, plaintiff’s motion should be denied3.

                                     22 ///

                                     23 ///

                                     24

                                     25
                                        2 If the Court allows plaintiff to file the TAC with these allegations, Sentry reserves the right to bring a
                                     26 special motion to strike under the anti-SLAPP statute, which if successful, would allow Sentry to recover
                                        its attorney’s fees and costs in bringing that motion.
                                     27 3
                                           Sentry has no objection (for leave to amend purposes) to the amendments in paragraphs 28, 107, 108, or
                                     28 110  of the TAC, although it does not concede that those allegations are true or accurate.
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                                      1 III.      ARGUMENT

                                      2          A.      Statutory Authority

                                      3          Plaintiff’s motion is based on FRCP Rules 15(a)(2) and 15(d), which state:

                                      4          Rule 15. Amended and Supplemental Pleadings

                                      5                  (a) Amendments Before Trial.

                                      6                  ...

                                      7                         (2) Other Amendments. In all other cases [i.e. more than 21 days

                                      8                         after service of a pleading or 21 days after service of a responsive

                                      9                         pleading or motion], a party may amend its pleading only with the

                                     10                         opposing party's written consent or the court's leave. The court

                                     11                         should freely give leave when justice so requires.
    LLP




                                     12                  ...
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                                     13                  (d) Supplemental Pleadings. On motion and reasonable notice, the court
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                                     14                  may, on just terms, permit a party to serve a supplemental pleading setting

                                     15                  out any transaction, occurrence, or event that happened after the date of the

                                     16                  pleading to be supplemented[.]

                                     17          “Amending” a pleading involves entirely replacing the earlier pleading with a new

                                     18 pleading containing matters that occurred prior to the filing of the original pleading, while

                                     19 “supplementing” a pleading involves adding to the original pleading events occurring subsequent

                                     20 to the earlier pleading. See Francis ex rel. Estate of Francis v. Northumberland County, 636

                                     21 F.Supp.2d 368 (M.D.Pa. 2009).

                                     22          With respect to plaintiff’s motion to amend, allowing a plaintiff to amend a complaint

                                     23 after a responsive pleading has been served is within the sound discretion of the trial court. PSG

                                     24 Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 417 F.2d 659 (9th Cir. 1969). Sentry

                                     25 recognizes that in general, leave to amend should be liberally allowed. Eminence Capital, LLC v

                                     26 Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003). However, leave to amend should not be

                                     27 granted when “any amendment would be an exercise in futility.” Steckman v. Hart Brewing, Inc.,

                                     28 143 F.3d 1293, 1298 (9th Cir. 1998). As discussed below, it would be futile to allow plaintiff to
                                                                                      3
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                                      1 add new paragraphs 112-115 to their complaint since the case law and policy language cited

                                      2 therein is simply wrong.

                                      3          With respect to plaintiff’s motion to file a supplemental pleading, leave to file such a

                                      4 pleading should also be freely given, unless it results in undue prejudice to the opposing party.

                                      5 See San Luis & Delta-Mendota Water Authority v. U.S. Dept. of Interior, 236 F.R.D. 491

                                      6 (E.D.Cal.2006). Here, allowing plaintiff to add new paragraphs 117-121 to their complaint

                                      7 would result in undue prejudice since the allegations violate California’s anti-SLAPP statute

                                      8 found in CCP section 425.16, which states in relevant part:

                                      9          (a) The Legislature finds and declares that there has been a disturbing increase in

                                     10          lawsuits brought primarily to chill the valid exercise of the constitutional rights of

                                     11          freedom of speech and petition for the redress of grievances. The Legislature finds
    LLP




                                     12          and declares that it is in the public interest to encourage continued participation in
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                                     13          matters of public significance, and that this participation should not be chilled
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                                     14          through abuse of the judicial process. To this end, this section shall be construed

                                     15          broadly.

                                     16          (b)

                                     17                 (1) A cause of action against a person arising from any act of that person in

                                     18                 furtherance of the person's right of petition or free speech under the United

                                     19                 States Constitution or the California Constitution in connection with a

                                     20                 public issue shall be subject to a special motion to strike, unless the court

                                     21                 determines that the plaintiff has established that there is a probability that

                                     22                 the plaintiff will prevail on the claim.

                                     23                 (2) In making its determination, the court shall consider the pleadings, and

                                     24                 supporting and opposing affidavits stating the facts upon which the liability

                                     25                 or defense is based.

                                     26                 (3) If the court determines that the plaintiff has established a probability that

                                     27                 he or she will prevail on the claim, neither that determination nor the fact of

                                     28                 that determination shall be admissible in evidence at any later stage of the
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                                      1                     case, or in any subsequent action, and no burden of proof or degree of proof

                                      2                     otherwise applicable shall be affected by that determination in any later

                                      3                     stage of the case or in any subsequent proceeding.

                                      4          (c)(1) . . . in any action subject to subdivision (b), a prevailing defendant on a

                                      5          special motion to strike shall be entitled to recover his or her attorney's fees and

                                      6          costs[.]

                                      7          ...

                                      8          (e) As used in this section, “act in furtherance of a person's right of petition or free

                                      9          speech under the United States or California Constitution in connection with a

                                     10          public issue” includes:

                                     11                     (1) any written or oral statement or writing made before a legislative,
    LLP




                                     12                     executive, or judicial proceeding, or any other official proceeding
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                                     13                     authorized by law, [or]
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                                     14                     (2) any written or oral statement or writing made in connection with an issue

                                     15                     under consideration or review by a legislative, executive, or judicial body,

                                     16                     or any other official proceeding authorized by law[.]

                                     17          This statute applies to cases brought in federal court. See Khai v. County of Los Angeles,

                                     18 730 Fed.Appx. 408 (9th Cir. 2018); Travelers Cas. Ins. Co. of America v. Hirsh, 831 F.3d 1179

                                     19 (9th Cir. 2016).

                                     20          Moreover, these allegations violate CCP 47, which states:

                                     21          A privileged publication or broadcast is one made:

                                     22          …

                                     23          (b) In any … (2) judicial proceeding[.]

                                     24          B.         Plaintiff’s Motion To Amend Should Be Denied Because Making The

                                     25                     Proposed New Allegations Would Be Futile

                                     26                     1.     Montrose Was A Third Party Case, Not A First Party Case

                                     27          “First party” insurance policies protect against loss or damage sustained directly by the

                                     28 insured (e.g., fire, theft, disability insurance). See Garvey v. State Farm Fire & Cas. Co. (1989)
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                                      1 48 Cal.3d 395, 399. In “first party” cases, plaintiff is the insured and seeks to recover benefits

                                      2 under the policy payable directly to the insured, not to a third party. See McKinley v. XL

                                      3 Specialty Ins. Co. (2005) 131 Cal.App.4th 1572, 1576.

                                      4           In contrast, “third party” coverages protect the insured against liability to another based

                                      5 on the insured's acts. See Essex Ins. Co. v. City of Bakersfield (2007) 154 Cal.App.4th 696, 705.

                                      6 In a “third party” case, an injured party is making a claim against the insured, and the insured

                                      7 seeks coverage from the insurer to indemnify the insured against liability to the third party, and

                                      8 to defend claims by the third party against the insured. See Austero v. National Cas. Co. of

                                      9 Detroit, Mich. (1978) 84 Cal.App.3d 1, 26-28.

                                     10           It is undisputed that this case is a third-party coverage dispute. Plaintiff alleges that it

                                     11 purchased the subject Property in 1976 (TAC at paragraph 12). Plaintiff then alleges that it is
    LLP




                                     12 subject to claims by a third party, the California Department of Toxic Substances Control
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                                     13 (DTSC) to undertake soil and groundwater testing related to Tetrachloroethylene (PCE), to
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                                     14 conduct soil vapor testing, to arrange for removal and proper disposal of soils contaminated with

                                     15 PCE, the treat the PCE in the groundwater, and to install and operate a soil vapor extraction

                                     16 system (TAC at paragraph 27)4.

                                     17           It is alleged that, in denying a duty to defend plaintiff from the DTSC’s third party

                                     18 claims, Sentry relied in part on the California Supreme Court’s decision in Montrose, supra

                                     19 (TAC at paragraphs 38-40). Plaintiff now wants to allege that Sentry’s reliance on Montrose in

                                     20 its coverage position letter to plaintiff was a “misrepresentation” because “Montrose specifically

                                     21 held that [its decision] only applied to first party claims.”

                                     22           This allegation is futile because it is clearly an inaccurate statement of law. In the very

                                     23 first paragraphs of the Montrose decision, the Court stated in relevant part:

                                     24           In Prudential–LMI Com. Insurance v. Superior Court (1990) 51 Cal.3d 674, 274

                                     25           Cal.Rptr. 387, 798 P.2d 1230 (Prudential–LMI), we examined the issue of

                                     26

                                     27 4
                                          Plaintiff also tendered a third-party claim to Sentry on February 23, 2021 when it asked Sentry to
                                     28 defend it against the cross-complaint brought by Catherine O’Hanks. (See ECF 64-4).
                                                                                            6
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                                      1          allocation of indemnity among insurers in a first party property insurance case,

                                      2          where a loss had occurred over several policy periods but was not discovered until

                                      3          several years after it commenced. … We expressly reserved the question of what

                                      4          rules should apply in third party liability insurance cases involving continuous or

                                      5          progressively deteriorating damage or injury. … In this case we address the issue

                                      6          reserved in Prudential–LMI.

                                      7          Montrose, supra, 10 Cal.4th at 654 (emphasis added).

                                      8          Ultimately, pursuant to the “standard occurrence-based CGL policy” language at issue in

                                      9 that case (Id. at 688), the Montrose Court held that the “continuous injury” trigger of coverage

                                     10 should be adopted for third party liability insurance cases involving continuous or progressively

                                     11 deteriorating losses. Id. at 654.
    LLP




                                     12          Thus, a cursory reading of the Montrose decision makes clear that it was a third-party
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                                     13 case. For plaintiff to attempt to allege that it was a first party case that Sentry “misrepresented”
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                                     14 as a first party case is simply wrong. Because it would be futile to allow such allegation,

                                     15 plaintiff’s motion to amend to include the new allegations in paragraph 112 should be denied.

                                     16                  2.     Plaintiff’s Proposed New Allegation That Sentry’s Denial Of

                                     17                         Coverage Was Based On The “Extent” of PCE Contamination,

                                     18                         Rather Than Its “Manifestation,” Is Demonstrably Untrue, And

                                     19                         Therefore It Would Be Futile To Allow Such Amendment

                                     20          Plaintiff alleges that it first learned of the PCE subsurface contamination in August 2016

                                     21 (TAC paragraph 25). In fact, plaintiff alleges that it “did not know, or had any reason to know,

                                     22 before 2016, of the existence of the contamination and injury to Plaintiff.” (Id.)

                                     23          Plaintiff now wants to allege that Sentry denied a duty to defend “on the basis that the

                                     24 extent of the PCE subsurface contamination was not determined until after the policy period

                                     25 ended” (TAC paragraph 113, lines 17-18; emphasis added). However, Sentry’s March 25, 2021,

                                     26 letter is already before the Court – see ECF 64.5. In that letter, Sentry makes clear that its denial

                                     27 is based on the fact “that the subject contamination did not manifest itself until after the Policy

                                     28 had expired, such that the Dry Cleaners Additional Coverages Endorsement does not apply,
                                                                                       7
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                                      1 leaving this matter within the Policy’s pollution exclusion.” (Id.) Nowhere does the letter state

                                      2 that coverage was being denied because of the extent of the contamination. Thus, plaintiff’s

                                      3 proposed allegation in paragraph 113 would be futile, and plaintiff’s motion to amend its

                                      4 complaint to assert this baseless allegation should be denied.

                                      5                 3.      The Okada Decision, Decided Under Hawai’i Law, Was Based On

                                      6                         Completely Different Policy Language, Such That Plaintiff’s Proposed

                                      7                         New Allegation At Paragraph 114 Would Be Futile

                                      8          In Okada, the insureds held a Directors and Officers Errors and Omissions policy issued

                                      9 by MGIC. Id. at 277. After three directors refused to accept MGIC’s defense payments under a

                                     10 reservation of rights, MGIC stopped paying their defense costs, and the insureds filed suit

                                     11 seeking a judicial determination that MGIC had a duty to pay defense costs as those costs were
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                                     12 incurred. Id. at 279.
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                                     13          The policy at issue in Okada included the following language:
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                                     14          1. DEFINITIONS

                                     15          ....

                                     16          (d) The term “Loss” … shall include but not be limited to … defense of legal

                                     17          actions, claims or proceedings and appeals therefrom and cost of attachment or

                                     18          similar bonds[.]

                                     19          …

                                     20          5. COSTS, CHARGES AND EXPENSES

                                     21          (a) No costs, charges and expenses shall be incurred or settlements made without

                                     22          the Insurer's consent which consent shall not be unreasonably withheld; however,

                                     23          in the event such consent is given, the Insurer shall pay, subject to the provisions

                                     24          of Clause 4, such costs, settlements, charges and expenses.

                                     25          ....

                                     26          (c) The Insurer may at its option and upon request, advance on behalf of the

                                     27          Directors or Officers, or any of them, expenses which they have incurred in

                                     28          connection with claims made against them, prior to disposition of such claims,
                                                                                      8
                                                SENTRY’S OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE THIRD AMENDED AND
                                                                                                      SUPPLEMENTAL COMLAINT
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                                      1          provided always that in the event it is finally established the Insurer has no liability

                                      2          hereunder, such Directors and Officers agree to repay to the Insurer, upon demand,

                                      3          all monies advanced by virtue of this provision.

                                      4          Id. at 279.

                                      5          MGIC attempted to argue that the provisions of section 5 of the policy (governing “costs,

                                      6 charges and expenses”) excluded legal costs. Id. at 280. The court rejected that argument,

                                      7 pointing out that “nowhere does the policy define “expenses” to exclude defense costs. Id. at

                                      8 281.

                                      9          In stark contrast, the Sentry policy (see ECF 64.6) is a Businessowners Policy issued to a

                                     10 dry cleaner (EDF 64.6 at page 4). The Businessowners Liability Coverage Form includes a

                                     11 pollution exclusion which applies to preclude coverage for the third-party claim (ECF 64.6 at
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                                     12 page 12-13). However, the Policy includes a Dry Cleaners Endorsement (“DCE”) which
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                                     13 includes a “Pollution Liability Insurance” provision (EDF 64.6 at page 18). That provision states
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                                     14 that “a separate pollution limit of $100,000 applies to all damages, including sums paid under

                                     15 Coverage Extension – Supplementary Payments, for all occurrences during the policy period.”

                                     16 (Id.) The Policy’s Supplementary Payments provision, in turn, states that the insurer will pay

                                     17 “all expenses we incur” (EDF 64.6 at page 10). Based on this policy language, Sentry has taken

                                     18 the position that the $100,000 limit includes defense fees and costs. See Albert D. Seeno

                                     19 Construction Co. v. Aspen Ins. UK Limited, 2020 WL 5760170 (USDC N.D. CA) (under the

                                     20 subject endorsement, attorneys’ fees incurred by the insurer to defend the insured were

                                     21 “supplementary payments” that eroded the policy limits); Amerisure Mut. Ins. Co. v. Arch

                                     22 Specialty Ins. Co., 784 F.3d 270, 274-75 (5th Cir. 2015); Nat'l Union Fire Ins. Co. v. West Lake

                                     23 Academy, 548 F.3d 8, 18 (1st Cir. 2008).

                                     24          Whether Sentry’s position is correct will be decided on another day. For purposes of this

                                     25 opposition, however, it is obvious that Hawai’i’s decision in Okada involves different facts and

                                     26 policy language then the allegations and policy language in this California case. As such, it

                                     27 would be futile for plaintiff to make the “misrepresentation” allegation in paragraph 114 of the

                                     28 TAC, and as such, plaintiff’s motion should be denied.
                                                                                        9
                                                SENTRY’S OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE THIRD AMENDED AND
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                                      1          C.      Plaintiff’s Motion To Supplement Should Be Denied Due To California’s

                                      2                  Litigation Privilege And Anti-SLAPP Statute

                                      3          In paragraphs 117 through 121, plaintiffs wish to allege that Sentry’s efforts to defend

                                      4 itself and state its coverage position in this case is evidence of its “bad faith” conduct. However,

                                      5 such allegations are not allowed under California’s anti-SLAPP statute or litigation privilege

                                      6 statute, cited above.

                                      7          In determining whether speech is protected under California's anti-SLAPP statute, courts

                                      8 also look to the litigation privilege as an aid in construing the scope of the anti-SLAPP statute,

                                      9 because the two statutes serve similar policy interests. Diamond Resorts U.S. Collection

                                     10 Development, LLC v. Pandora Marketing, LLC, 541 F.Supp 3d 1020 (C.D.Cal.2021).

                                     11 California's litigation privilege, which immunizes defendants from virtually any tort liability,
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                                     12 with the sole exception for causes of action for malicious prosecution, applies to any
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                                     13 communication (1) made in judicial or quasi-judicial proceedings; (2) by litigants or other
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                                     14 participants authorized by law; (3) to achieve objects of litigation; and (4) that has some

                                     15 connection or logical relation to action. Graham-Sult v. Clainos, 756 F.3d 724 (9th Cir. 2014).

                                     16 Legal advice made in connection with litigation is within the anti-SLAPP statute, and protects

                                     17 defendants from suits brought by third parties on any legal theory or cause of action arising from

                                     18 those protected activities. Clarity Co. Consulting, LLC v. Gabriel, 2022 WL 1090573. Anti-

                                     19 SLAPP protection for petitioning activities applies not only to the filing of pleadings in lawsuits,

                                     20 but also extends to conduct that relates to such litigation, including statements made in

                                     21 connection with the litigation. Weeden v. Hoffman (2021) 285 Cal.Rptr.3d 262.

                                     22          In Shekhter v. Financial Indemnity Co. (2001) 89 Cal.App.4th 141, the insurer filed suit

                                     23 against the insured for insurance fraud. Id. at 145. The insured filed a cross-complaint against

                                     24 the insurer for unfair business practices and the Unruh Civil Rights Act arising from the acts of

                                     25 filing complaints against the insured and the subsequent litigation. Id. at 149. The Shekhter

                                     26 court agreed with the insurer that the insured’s causes of action arising from that litigation

                                     27 activity was the appropriate subject of an anti-SLAPP motion. Id. at 151 (citations omitted).

                                     28 ///
                                                                                          10
                                                SENTRY’S OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE THIRD AMENDED AND
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                                      1          Here, plaintiff is attempting to supplement its “bad faith” allegations against Sentry by

                                      2 asserting that the motion to strike filed by Sentry in this case, as well as its coverage position

                                      3 following the Court’s order on that motion to dismiss, supports its claims. Such activity by

                                      4 Sentry is protected. Especially since plaintiff makes no effort to assert that it will prevail in its

                                      5 coverage position (it will not), it would be unduly prejudicial to allow plaintiff to file its

                                      6 proposed TAC with these supplementary allegations.

                                      7 IV.      CONCLUSION

                                      8          Based on the foregoing, Sentry respectfully requests that this Court issue an Order

                                      9 denying plaintiff’s motion for leave to amend its complaint to assert new and supplemental

                                     10 claims against Sentry that are futile and unduly prejudicial.

                                     11
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                                     12 DATED: August 22, 2022                              SELMAN BREITMAN LLP
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                                     14
                                                                                            By: /s/ Linda Wendell Hsu _______________
                                     15                                                          LINDA WENDELL HSU
                                                                                            Attorneys for Defendant/Counter-Defendant
                                     16                                                     SENTRY INSURANCE COMPANY
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                                                SENTRY’S OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE TO FILE THIRD AMENDED AND
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